              Case 4:01-cr-40017-JPG                      Document 532 Filed 04/06/12                    Page 1 of 3           Page ID
<~::.A0245D                                                         #779
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1


                                                                                                                                ~l.
                                      UNITED STATES DISTRICT COURT
                                                           Southern District of Illino~s
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                                                                           A /')I 12,1/cf~                               ~'r.v -~ o     <'o~
         UNITED STATES OF AMERICA                                         ~udgment in a Criminal Case                    &;::tv~1Sr~sr;r1
                              v.                                          (For Revocation of Probation or Supervised Releasef11rfJ!J    g; c0
                     Eric E. Burnett                                                                                                  ;0(: 1<1.. u;r1
                                                                                                                                         .      ;!\to
                                                                                                                                                     Is
                                                                          Case No. 01-40017-005
                                                                          USM No. 05305-025

                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            as alleged below                  of the term of supervision.
0   was found in violation of condition(s)              _ _ _ _ ___.__ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                              Violation Ended
Statutory                          The defendant tested positive for cocaine                                   10/16/2008



Standard# 2                        The defendant failed to submit monthly reports timely                       09/30/2008


       The defendant is sentenced as provided in pages 2 through _ __,;;3;,__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic Circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3015                        04/06/2012
                                                                                              Date of Imposition of Judgment
                                      1982

                                                                                           ~~J!#
Defendant's Year of Birth:

City and State of Defendant's Residence:
Mt. Vernon, IL 62864
                                                                            J. Phil Gilbert                               District Judge
                                                                                                  Name and Title of Judge


                                                                              b~ c;;. 4-'&=                Date
          Case 4:01-cr-40017-JPG                      Document 532 Filed 04/06/12         Page 2 of 3      Page ID
AO 2450                                                         #780
          (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet lA
                                                                                         Judgment-Page _.~;;,2_ of   3
DEFENDANT: Eric E. Burnett
CASE NUMBER: 01-40017-005

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard# 3                   The defendant failed to provide truthful informtion concerning drug use         10/16/2008



Standard# 5                   The defendant failed to maintain regular employment



Standard# 9                   The defendant associated with convicted felons with permission                  10/27/2008


Standard # 11                 The defendant failed to advise probation of being questioned by police          10/13/2008



Special                       The defendant failed to call On-Site Drug Testing                               10/27/2008


Special                       The defendant failed to comply with procedures of home confinement              12/31/2007
                Case 4:01-cr-40017-JPG                      Document 532 Filed 04/06/12              Page 3 of 3         Page ID
  AO 2450                                                             #781
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment- Page   _.=..3_ of     3
  DEFENDANT: Eric E. Burnett
  CASE NUMBER: 01-40017-005


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
50 months




       t/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in Intensive Drug Treatment Program.




       D The defendant is remanded to the custody of the United States Marshal.

       D    The defendant shall surrender to the United States Marshal for this district:
            D    at   - - - - - - - - - D a.m.                        D    p.m.    on
            D     as notified by the United States Marshal.

       D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                  By -------~~~~~~~~~~~~-----­
                                                                                             DEPUTY UNITED STATES MARSHAL
